      Case: 21-11174    Document: 00516323769 Page: 1 Date Filed: 05/18/2022
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    May 18, 2022
  KAREN MITCHELL
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                                    FIFTH CIRCUIT
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                                  May 18, 2022
   MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
          No. 21-11174    Franciscan Alliance v. Becerra
                          USDC No. 7:16-CV-108 -O

   The court has granted an extension of time to and including June
   10, 2022, for filing appellee’s/respondent’s brief in this case.


                                     Sincerely,
                                     LYLE W. CAYCE, Clerk


                                     By: _________________________
                                     Charles B. Whitney, Deputy Clerk
                                     504-310-7679
   Mr.   Joshua A. Block
   Mr.   Daniel Chen
   Mr.   Joseph Charles Davis
   Ms.   Marleigh D. Dover
   Mr.   Luke William Goodrich
   Mr.   Bradley Philip Humphreys
   Ms.   Lindsey Kaley
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